 Case 3:22-cv-00594-E-BT Document 64 Filed 05/02/23                                        Page 1 of 5 PageID 254
                     Willie Lee HavMmeri vs Methodist Hospital of Dallas (MHS) Case No. 3:22-cv-00594-E-BT




                     Letter to Judge Rutherford
                         Judge Rutherford as Hospital Patient “Rebecca R”
Willie Lee HavMmeri,
Plaintiff
vs.
Methodist Health Systems,
Defendant

Case No. 3:22-cv-00594-E-BT

May 2nd, 2023

Overview
With my case in the U.S. District Court, I truly believe that I’m being held to a standard of legal
knowledge that seem ridiculous from my vantage.

I profess, repeatedly, that I’m not an expert on Law. I am not familiar with trials nor legal proceedings. I
have a tremendous respect for the Law. I believe it to be fool hearted to attempt to prove a legal
position without proper legal representation. Extremely fool hearted.

By the Defendant stripping me of my ability to consistently earn an income (rendering me unemployed
and unemployable), I have the unfortunate position of being unable to afford legal representation yet
tasked with putting forward a RESPECTABLE legal claim. A motion to Dismiss is just bullying at this point.

My background is healthcare. I prided myself on being a healthcare professional. If I must continue to
embarrass myself by playing my own legal counsel, well, I hope everyone is being entertained at my
expense.

Rebecca R, as hospital patient
For the sake of my argument today, I wish for our Honorable Judge Rutherford to imagine herself in my
shoes. Stripped of title and status. Ignorant to Medical Procedures. Entering a Hospital with a fractured
femur in her left leg. Again, this is just for the sake of the argument. I wish Judge Rutherford continued
health and prosperity.

As for myself, I am the Distinguished Hospital Administrator, in a position of power and authority as
Patient Rebecca enters the Hospital I’m in charge of.

March 14th 2022, Willie HavMmeri files a charge in U.S. District Court/Rebecca R. enters
the Hospital
Me, in court: I would like to file charges against my former employer, I am unable to pay the filing fees,
having been fired for stealing time.

Judge Rutherford, assigned to case: That’s fine. Filing charges shall be covered. (doc. 10)

Patient Rebecca: Help! I have a broken leg! I need surgery! I can’t afford to pay for my stay!

Hospital Admin HavMmeri: That’s fine. Your hospital visit shall be covered.


                                   Wrongful Termination due to Retaliation and Discrimination
                                                 Case No. 3:22-cv-00594-E-BT
 Case 3:22-cv-00594-E-BT Document 64 Filed 05/02/23                                       Page 2 of 5 PageID 255
                    Willie Lee HavMmeri vs Methodist Hospital of Dallas (MHS) Case No. 3:22-cv-00594-E-BT




HavMmeri needs a Lawyer/ Rebecca R needs a Doctor
Me, in court: I feel very uncomfortable trying to prove my claims against the Defendant as a Plaintiff
without legal representation.

Judge Rutherford: There is nothing uncommon about your position. The court has seen many such
cases. We have already comped your filing fees, we will not provide you with a lawyer.

Me, in court: But you clearly see that I can’t afford a lawyer because the Defendant took away my
means to do so.

Judge Rutherford: Again, there is nothing extraordinary about your claim. 1st, 2nd and 3rd request all
DENIED.

Patient Rebecca: I have a broken leg. I appreciate you allowing me to stay in the hospital but I really
need a doctor. My leg requires a surgeon’s skills and precision.

Hospital Admin HavMmeri: Our hospital is very familiar with your position. Our hospital has seen many
broken legs. We are already providing you with a free hospital stay, we will not provide you with a
doctor. You don’t have insurance.

Patient Rebecca: But you clearly see my leg is broken and I’m in no position to fix it myself.

Hospital Admin HavMmeri: Again, there is nothing extraordinary about your broken leg. 1 st, 2nd and 3rd
request for a doctor, all DENIED.

Defendant request HavMmeri’s claims be DISMISSED/Doctors request Patient Rebecca be
REMOVED from Hospital
Me, in court: Your Honor, this Motion to Dismiss makes zero sense. My Amended Complaint *IS* in fact,
an Amended Complaint (doc. 24). Furthermore, I stated claims to which relief could be granted *AND* I
was a day late to initially file because the pandemic closed all government buildings at the time. Federal
Rules of Civil Procedure have specific rules cited for such circumstances (doc. 34).

Judge Rutherford: This case shall be paused and not move forward until I decide if this Motion to
Dismiss is valid or not.

Patient Rebecca: Dear Hospital Administrator, removing me from the hospital makes zero sense. I still
have the broken leg. Furthermore, me occupying a bed while I plead for an operation on my leg is not
inconveniencing the hospital, which is clearly not full and in need of additional beds right now.

Hospital Admin HavMmeri: There shall be no decision on operating on your leg until I decide if the
Physician’s request for you to be removed from the hospital is valid or not. Your operation is on PAUSE.

HavMmeri’s Motion for Summary Judgement/Patient Rebecca request supplies for a
splint and bandages
Me, in court: Your Honor. While this case is going through these stages, I am struggling BADLY. I
desperately need relief of some kind. Here are a few indisputable facts that AT LEAST entitle me to a
small portion of compensation based on the facts alone. Please consider this Motion, there is no where
in the Federal Rules of Civil Procedure that suggest that it is too early or too late to file a Motion for
Summary Judgment. I thank you for your consideration.

                                  Wrongful Termination due to Retaliation and Discrimination
                                                Case No. 3:22-cv-00594-E-BT
 Case 3:22-cv-00594-E-BT Document 64 Filed 05/02/23                                       Page 3 of 5 PageID 256
                    Willie Lee HavMmeri vs Methodist Hospital of Dallas (MHS) Case No. 3:22-cv-00594-E-BT



Judge Rutherford: Your request for Summary Judgement is a bit… premature. Let me decide on if I’m
gonna dismiss your case first. If I don’t dismiss your case, THEN I’ll give you instructions on when and
how to request Summary Judgement.

Patient Rebecca: Dear Hospital Administrator, while I’m here at the hospital, my leg is hurting and
bleeding BADLY. I desperately need relief of some kind. Everyone can clearly see this bone sticking out
of my leg. Can I at least receive some pain killers, bandages and supplies for a splint? There is no where
in the hospital policy I’ve been reading over to suggest that I can’t be giving a few supplies to at least
work on healing myself. I thank you for your consideration.

Hospital Admin HavMmeri: Your request for supplies, bandages and a splint is a bit… premature. Let me
decide on if we will continue allowing you to stay here with the doctors wanting you gone. If I don’t kick
you out of the hospital, I’ll THEN give you instructions on how to request medical supplies.

HavMmeri request a motion to Continue/Patient Rebecca request Surgery
Me, in court: Your Honor. It’s going on 6 months sense the Defendant’s Motion to Dismiss was filed.
I’m behind on child support and facing serious jail time. Please… PLEASE… can you decide on how this
case moves forward? I don’t want to go to jail and miss your ruling on the matter, as there may be time
related instructions that accompany the decision.

Judge Rutherford: Your Motion to Continue is DENIED. If you find yourself in jail, please submit a change
of address with the District’s Clerk.

Patient Rebecca: Dear Administrator, it’s been a considerable amount of time since the doctors asked
that I be kicked out and I requested medical supplies to stop the bleeding. I’m literally over here
bleeding out in this hospital room. Please… PLEASE… can you decide if I will stay and have surgery or at
least give me the medical supplies I request? I don’t want to lose so much blood that my leg gets
infected or requires amputation.

Hospital Admin HavMmeri: Your request for Surgery is DENIED. If your leg falls off, please hop over to
the nurses station and give them an update on your condition.

HavMmeri request to meet the Judge/Patient Rebecca request to meet with
Administration
Me, in court: Your Honor. I’m really confused about this case. I don’t want my case dismissed. I’ve
fought so hard on my own. I don’t know what is being asked of me. I don’t know what kind of time
frame I should expect for this case to continue and ultimately wrap up. Can I please talk to you in person
and get a sense of what kind of expectations I should have moving forward. I have yet to meet a human-
being in this decision making process.

Judge Rutherford: I can’t meet with you. I will not see you in person. I’m still deciding on dismissal. I
can not and will not give you legal advice. If you need some sort of relief, file the paperwork. You know
what to do.

Patient Rutherford: Dear Administrator, I’m really confused and hurting right now. I don’t want to get
kicked out the hospital when I’m still in need of surgery. I am still leaking blood and have no idea as to
when or if surgery is in my future. I want to live. Can you please come to talk to me and at least see my
leg. See the severity of my injuries IN PERSON. Please Hospital Administrator, you have a lot of power

                                  Wrongful Termination due to Retaliation and Discrimination
                                                Case No. 3:22-cv-00594-E-BT
 Case 3:22-cv-00594-E-BT Document 64 Filed 05/02/23                                        Page 4 of 5 PageID 257
                     Willie Lee HavMmeri vs Methodist Hospital of Dallas (MHS) Case No. 3:22-cv-00594-E-BT



on whether I receive surgery or not. I have yet to see a doctor or hospital admin since I’ve been
admitted in the Hospital. Please, just listen to me.

Hospital Admin HavMmeri: I will not come see you in your hospital room. I will not lay eyes on your
injuries myself. I’m still deciding on if you’re gonna get kicked out the hospital or go to surgery. I can not
tell you the severity of your injuries. If you need some sort of bandages to stop the bleeding on your
fractured leg, we have a form for that. You know where to find it.

HavMmeri request RELIEF/Patient Rebecca request SUPPLIES
Me, in court: Your Honor. You just told me I need to request relief through submission of a Motion. I
wish to submit a Motion for Miscellaneous Relief. I have provided the evidence that I am in fact entitled
to such relief due to the fact that it is indisputable that my initial complaint to my employer (the
Defendant) came 24 days before I was terminated and this is against the law. Terminating any employee
before 60 after their initial complaint in good faith is a violation. Please approve this relief. With such
relief, I can afford a lawyer and you probably won’t have to hear from me personally until it’s time for
trial.

I believe it to be a disadvantage to continue this process without proper legal representation. I wish to
move on with my life. Here’s my evidence that I formally complained mere days before any investigation
into me and my subsequent termination. It’s attached as an exhibit. I also included my request for my
emails from the employer, which was the 2nd such request sent 2 years ago. I’ve been fighting on my
own in this case for a long time. Please provide me with the relief to at least make the fight fair.

Currently, Your Honor, it seems as though the judicial system is designed for me to trip up, fail and crash
rather than receive justice. Please don’t make that the reality. I still believe in justice. I have faith that
you can administer it. (DOC. 63)

[CURRENTLY AWAITING JUDGE RUTHERFORD’S RESPONSE]

Patient Rutherford: Dear Administrator, you refuse to come take a look at my leg but you instructed me
to request medical supplies through a submission form. Fine. Here’s your filled out form requesting
medical supplies. I sent over a couple pictures of my broken leg and the sheets where all the blood I’ve
lose is visible.

The supplies I asked for will not fix my leg, only stop the bleeding. These supplies have nothing to do
with the fact that I will still need surgery. It’s only so that I can make it to surgery. Please provide me
with these supplies to at least attempt to make it to surgery.

Currently, Dear Administrator, it seems as though the medical system is designed for the uninsured to be
ignored, alienated and waste away rather than treated. Please don’t make this a reality. I still believe in
the healthcare system. I have faith that you, Hospital Administrator HavMmeri, will see to it that my leg
gets healed.

[I, WILLIE LEE HAVMMERI, WILL CONTINUE THIS CHARADE WITH A REPLY AFTER JUDGE RUTHERFORD’S
REPLY TO THE PENDING MOTION (Doc. 63), it will be in the same spirit as her reply. Unless instructed
not to do so]




                                   Wrongful Termination due to Retaliation and Discrimination
                                                 Case No. 3:22-cv-00594-E-BT
 Case 3:22-cv-00594-E-BT Document 64 Filed 05/02/23                                       Page 5 of 5 PageID 258
                    Willie Lee HavMmeri vs Methodist Hospital of Dallas (MHS) Case No. 3:22-cv-00594-E-BT




Closing
The point of this rather unfortunate thought experiment is to bring you into a area of expertise that you
may be unfamiliar with (HEALTHCARE), like I am unfamiliar with your area of expertise (JUDICIAL
PROCEEDINGS).

It is scary knowing your particular issue means far more to YOU than everyone who is “just doing their
job”. It is scary to know that your ignorance to a complex system can (and will) be used against you by
those more skilled in the area and with far more experience in squashing people foolish enough to enter
such arenas.

It is scary knowing someone you will never see is deciding your fate.

Again, I wish the Magistrate Judge continued health and prosperity ( as I wished all parties involved as
we brought in the year of 2023 – doc. 53). Now, of course, any hospital administrator or healthcare
facility treating a poor, uninsured patient that way would be seen as heinous and calloused. Such a
scenario would never happen. However, I find legal proceedings are a different matter.

For me, my termination for stealing time has crippled my life just like a broken leg.

As a person with a broken leg would go directly to a hospital and put their faith in such an institution for
HEALING, SO TO DO I, as a person wrongfully terminated place similar faith in this legal institution for
JUSTICE.

In a Healthcare setting, one can not refuse to treat a patient because they lack insurance.
In a Judicial setting, one can not refuse to hear a case because the plaintiff lacks a lawyer.
In Healthcare the uninsured see the difference in QUALITY OF CARE.
In the Judicial System, the self represented see the difference in INDIFFERENCE TO OUTCOME.

I HUMBLY ask the Honorable Judge Rutherford to look past my ignorance. Look past my frustrations.
Look past my poor writing skills. Look past my lack of legal understanding. Look past my incoherent
arguments. Look past my frantic pleas for a life raft. Please, PLEASE, really look at what happened to my
life in this case.

I am more than just a name in the Plaintiff Section of documents…

My termination was WRONGFUL. It was RETALIATION for questioning an unfair bias, due to GENDER.

Respectfully submitted,

May 2nd, 2023

By: _____/s/ Willie HavMmeri_________

Willie Lee HavMmeri, self-represented “Pro se”
godcolored@gmail.com
(214) 600-6207




                                  Wrongful Termination due to Retaliation and Discrimination
                                                Case No. 3:22-cv-00594-E-BT
